          Case 1:16-cv-00232-CKK Document 134 Filed 12/22/21 Page 1 of 9




                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

-----------------------------------------------------x
TIMOTHY KARCHER, et al.,                              :
                                                      :   Case No. 16-cv-00232 (CKK)
                           Plaintiffs,                :
                                                      :
         -against-                                    :
                                                      :
ISLAMIC REPUBLIC OF IRAN,                             :
                                                      :
                           Defendant.                 :
-----------------------------------------------------x

                     PLAINTIFFS’ MOTION FOR THE APPOINTMENT OF
                          FIVE ADDITIONAL SPECIAL MASTERS

         Plaintiffs respectfully move this Court to appoint the following five Special Masters

pursuant to Federal Rule of Civil Procedure 53 and 28 U.S.C. § 1605A(e)(1): Eugene R. Fidell,

Esq.; Jim Letten, Esq.; Jack McKay, Esq.; Franklin D. Rosenblatt, Esq., and Shana Solomon, Esq.

(the “Proposed Special Masters”).

    I.       The Proposed Special Masters Are Ready to Commence Damages
             Recommendations

         Following this Court’s January 14, 2021, Order granting default judgment to 42 Plaintiffs

implicated in 73 attacks (“73 Attacks”), 1 ECF No. 122, Plaintiffs respectfully move to appoint the

Proposed Special Masters to issue Reports and Recommendations for damages for 227 family




1
        On September 9, 2019, the Court appointed Mr. Alan L. Balaran as Special Master to issue
a report and recommendation (“R&R”) concerning the damages of all Plaintiffs implicated in the
seven bellwether attacks that were the focus of the December 2018 bench trial. ECF No. 102. On
January 14, 2021, the Court appointed Mr. Balaran to issue an R&R regarding non-economic
damages for eight non-bellwether Plaintiffs injured in the 73 Attacks. ECF No. 125. On February
5, 2021, the Court directed Mr. Balaran to include the economic damages for one of those eight
non-bellwether Plaintiffs in his R&R. ECF No. 128. Thus far, Mr. Balaran has not made any of
these submissions.
         Case 1:16-cv-00232-CKK Document 134 Filed 12/22/21 Page 2 of 9




member Plaintiffs and Plaintiff estates of decedents implicated in the 73 Attacks (the “227 Plaintiff

Group”). 2

       Plaintiffs’ counsel have asked each Proposed Special Master for his or her respective

capacity to submit recommendations to the Court within a six-month period. Based on those

responses, Plaintiffs have divided the 227 Plaintiff Group such that each Proposed Special Master

will be allotted the number he or she can reasonably review within a six-month period, while also

keeping families grouped together.

       The claims that these Proposed Special Masters would assess, which comprise (i) solatium

claims by family member Plaintiffs and (ii) conscious pain and suffering and economic loss claims

of estates, are in no way affected by Special Master Alan L. Balaran’s impending recommendations

regarding the framework proposed by Plaintiffs for victims injured in EFP attacks.

       Instead, these claims may be adjudicated within the existing framework already developed

and utilized frequently in this District. See, e.g., Estate of Heiser v. Islamic Republic of Iran, 466

F. Supp. 2d 229, 269, 318 (D.D.C. 2006) (establishing framework for solatium claims); Valore v.

Islamic Republic of Iran, 700 F. Supp. 2d 52, 85 (D.D.C. 2010) (adopting the Heiser framework);

Smith ex rel. Smith v. Islamic Emirate of Afghanistan, 262 F. Supp. 2d 217, 234 (S.D.N.Y. 2003),

amended, 2003 WL 23324214 (S.D.N.Y. May 19, 2003) (awarding $1 million to estates for

“moments” of conscious pain and suffering); Elahi v. Islamic Republic of Iran, 124 F. Supp. 2d

97, 113 (D.D.C. 2000) (same). 3


2
        Plaintiffs have identified a small number of estates connected to the 73 Attacks that are not
ripe for submission to the Proposed Special Masters. When the issues currently precluding their
being addressed have been resolved, Plaintiffs can provide those damages submissions to the
Special Master ultimately appointed for the remaining Plaintiffs whose attacks were not
encompassed in the bellwether or 73 Attacks and have not yet been adjudicated.
3
       Plaintiffs’ forensic economic experts have each previously provided expert reports which
were adopted in similar terrorism cases. See, e.g., economic losses calculated by Steven A. Wolf,
                                                  2
           Case 1:16-cv-00232-CKK Document 134 Filed 12/22/21 Page 3 of 9




          Plaintiffs are prepared to commence the process of making damage submissions to the

Proposed Special Masters for the 227 Plaintiff Group promptly upon this Court’s Order appointing

them. The Proposed Special Masters have stated that they will submit reports and

recommendations to the Court within six months of receiving Plaintiffs’ submissions.

   II.       The Proposed Special Masters’ Appointments Are Warranted Under Federal
             Rule of Civil Procedure 53

          Federal Rule of Civil Procedure 53(a)(1) permits the appointment of Special Masters if

appointment is warranted by, inter alia, “the need to perform an accounting” or to “address pretrial

and posttrial matters that cannot be effectively and timely addressed by an available district judge

or magistrate judge of the district.” Fed. R. Civ. P. 53(a)(1)(B)(ii) and (C).

          Both of these circumstances are satisfied here. The assessment of damages for this large

volume of Plaintiffs comprises an accounting, which will involve a considerable volume of

damages assessments, and it would be impracticable for the Court (or a magistrate judge) to have

to review all damages submissions and determine all of the damages itself.

   III.      The Proposed Special Masters Are Qualified Under Federal Rule of Civil
             Procedure 53

          Rule 53(a)(2) states that a Special Master “must not have a relationship to the parties,

attorneys, action, or court that would require disqualification of a judge under 28 U.S.C. §455,

unless the parties, with the court’s approval, consent to the appointment after the master discloses

any potential grounds for disqualification.”


CPA, CFE, ABV/CFF, ASA in Owens v. Republic of Sudan, 71 F. Supp. 3d 252, 258-59 (D.D.C.
2014); Doe v. Islamic Republic of Iran, Civ. No. 08-0540 (D.D.C. May 9, 2013) (JMF) (JDB)
(ECF No. 107); Pugh v. Socialist Peoples’ Libyan Arab Jamahirya, 530 F. Supp. 2d 216, 263
(D.D.C. 2008); and Salazar v. Islamic Republic of Iran, 370 F. Supp. 2d 105, 116 (D.D.C. 2005);
and economic losses calculated by L. Wayne Plumly, Jr., Ph.D. in Relvas v. Iran, No. 14-cv-01752
(RCL) (D.D.C. Feb. 28, 2018) (ECF No. 83); and John Doe A-1 to A-49 v. Democratic People’s
Republic of Korea, No. 18-cv-00252 (DLF) (D.D.C. Feb. 24, 2021) (ECF No. 108).


                                                  3
           Case 1:16-cv-00232-CKK Document 134 Filed 12/22/21 Page 4 of 9




       As demonstrated in the attached declarations of each of the Proposed Special Masters, none

of them has any conflicts that would preclude their serving as a Special Master under 28 U.S.C. §

455, and each has agreed to abide by the [Proposed] Administrative Plan Governing Special

Masters, attached as Exhibit A. See Declaration of Eugene R. Fidell (“Fidell Decl.”) (Exhibit B),

¶¶ 1-2; Declaration of Jim Letten, Esq. (“Letten Decl.”) (Exhibit C), ¶¶ 1-2; Declaration of Jack

McKay, Esq. (“McKay Decl.”) (Exhibit D), ¶¶ 1-2; Declaration of Franklin D. Rosenblatt, Esq.

(“Rosenblatt Decl.”) (Exhibit E), ¶¶ 1-2; and Declaration of Shana Solomon, Esq. (“Solomon

Decl.”) (Exhibit F), ¶¶ 1-2.

       Moreover, each Proposed Special Master is well qualified and capable of recommending

solatium damages in this action by virtue of his or her respective legal background. A short

summary of each of their CVs (attached to their respective declarations) follows:

       •    Eugene R. Fidell, Esq. is an Adjunct Professor at NYU School of Law, a Senior
            Research Scholar at Yale Law School, and Of Counsel at the Washington, D.C.
            law firm of Feldesman Tucker Leifer Fidell LLP. He graduated from Harvard
            Law School in 1968, and he is a Life Member of the American Law Institute.
            Mr. Fidell served as a Judge Advocate in the U.S. Coast Guard from 1969-1972.
            He has served on many legal panels, advisory committees, and boards in various
            areas, and he has published extensively on a broad range of legal issues. See
            Fidell Decl., ¶¶ 5-9.

       •    Jim Letten, Esq. is a partner in the firm of Butler Snow LLP in its New Orleans
            office. His areas of practice include white collar, compliance, government
            investigations, and military and national security law. He also consults and
            provides representation on criminal and regulatory investigations by regulatory
            agencies, and he served as a court-appointed Deputy Monitor pursuant to a City
            of Memphis/Memphis Police Department Federal Consent Decree. Mr. Letten
            graduated from Tulane University School of Law in 1979. He served as U.S.
            Attorney for the Eastern District of Louisiana for more than 11 years, resigning
            in December 2012 as the longest-serving U.S. Attorney in the country. Mr.
            Letten served for 30 years with the Department of Justice. After leaving the
            U.S. Attorney’s Office, he joined Tulane University of Law as an Assistant
            Dean. See Letten Decl., ¶¶ 5-9.

       •    Jack McKay, Esq. serves as an arbitrator under the auspices of the American
            Arbitration Association, and lectures on international arbitration conducted

                                                 4
              Case 1:16-cv-00232-CKK Document 134 Filed 12/22/21 Page 5 of 9




               under the rules of the International Chamber of Commerce and other dispute
               resolution rules. He is a retired senior partner of Pillsbury Winthrop Shaw
               Pittman LLP’s D.C. office with over 40 years of legal experience. While he was
               a partner at Pillsbury, Mr. McKay’s practice areas included commercial
               litigation and international arbitration. He graduated from the University of
               Virginia School of Law in 1970 and received his LLM from The George
               Washington University Law School in 1974. See McKay Decl., ¶¶ 5-8.

          •    Franklin D. Rosenblatt, Esq. is an Assistant Professor at the Mississippi College
               School of Law, where he focuses on criminal law and international criminal
               law. He graduated from the University of Virginia School of Law in 2006. Mr.
               Rosenblatt served in the U.S. Army Judge Advocate General’s Corps as a
               prosecutor, legal advisor, and defense attorney for over 12 years. As a
               prosecutor, he tried dozens of international, financial, and violent crimes cases
               to verdict, including in the Iraqi court system. As a defense attorney, Mr.
               Rosenblatt served as lead military defense counsel for Sergeant Bowe Bergdahl
               in the most publicized court-martial in American history. Afterward, he
               practiced in the commercial litigation group of Butler Snow LLP’s Jackson,
               Mississippi office. See Rosenblatt Decl., ¶¶ 5-9.

          •    Shana Solomon, Esq. is a Director at Preti, Flaherty, Beliveau & Pachios LLP.
               In that capacity, she is involved in all aspects of civil litigation, including trial,
               arbitration, and mediation, in both federal and state courts. She has had
               extensive experience evaluating physical injuries and medical data in the
               context of medical malpractice cases, including defending health care
               professionals at trial, at panel hearings, and before medical malpractice
               tribunals. Ms. Solomon graduated from Boston College Law School in 2005.
               See Solomon Decl., ¶¶ 5-8.

    IV.        Powers and Duties

          The Proposed Special Masters would consider the threshold matter of each of the 227

Plaintiff Group’s statutory standing under 28 U.S.C. § 1605A(c) (creating a “private right of

action” for any national of the United States, member of the U.S. armed forces, or U.S. government

employee or contractor acting within the scope of the employee’s employment). 4



4
       Courts frequently instruct plaintiffs to submit evidence as to their statutory standing
pursuant to 28 U.S.C. § 1605A(c) to a special master. See, e.g., Order Adopting the Administrative
Plan, Sheikh v. Republic of the Sudan, No. 14-cv-2090 (JDB), at 6 (D.D.C. Aug. 29, 2019), ECF
No. 44 (“The reports shall include recommended findings of fact and conclusions of law on the
issue of standing.”); Order of Reference, Bova v. Islamic Republic of Iran, No. 15-cv-01074
(RCL), ¶ 2 (D.D.C. Feb. 28, 2018), ECF No. 33 (“In addition to satisfying the obligations imposed
                                                       5
          Case 1:16-cv-00232-CKK Document 134 Filed 12/22/21 Page 6 of 9




         The Proposed Specials Masters would then consider all issues related to compensatory

damages as to each claim made by the 227 Plaintiff Group (punitive and other damages issues

would be decided by this Court at a later stage). As indicated above, the Proposed Special Masters

would be guided in reviewing and evaluating damage claims by the framework set forth in Estate

of Heiser, Valore, and other major Terrorism Exception cases.

         A proposed allocation of Plaintiffs to each Proposed Special Master is set forth in Exhibit

G. This reflects Plaintiffs’ effort to distribute the workload among the Proposed Special Masters

in a manner that groups families together and facilitates efficient assessments of their submissions.

         The Proposed Special Masters would have authority to exercise all powers set forth in Rule

53(c), including but not limited to, if conducting an evidentiary hearing, exercising the Court’s

power to compel, take, and record evidence. Testimony would be received by sworn affidavits.

All of Plaintiffs’ evidence would be preserved by their counsel, who would retain it for use by the

Court.

         As to the admissibility of evidence, the Proposed Special Masters would be guided by the

Federal Rules of Evidence, but would not be required to qualify documents as genuine pursuant to

Fed. R. Evid. 901—authentication would be satisfied where documents are proffered by Plaintiffs’

counsel’s representations as officers of the Court that a document is an accurate copy of what

counsel proffers it to be. See ECF No. 102 (setting forth similar guidance when appointing Mr.

Balaran). Moreover, the Proposed Special Masters should be guided by the opinion of the United




by the Administrative Plan, Mr. Balaran shall … take evidence and report on each plaintiff’s
qualification for relief under Section 1605A(c).”); Order Appointing Special Master, Kaplan v.
Hezbollah, No. 09-cv-00646 (RCL), at 2 (D.D.C. Oct. 1, 2014), ECF No. 58 (“in addition to
satisfying the obligations imposed on Mr. Balaran by the Administrative Plan, Mr. Balaran shall
take and report on evidence of each plaintiff’s qualification for relief under § 1605A(c) and the
familial relationships between plaintiffs and victims”).
                                                  6
          Case 1:16-cv-00232-CKK Document 134 Filed 12/22/21 Page 7 of 9




States Court of Appeals for the D.C. Circuit in Owens v. Republic of Sudan, 864 F.3d 751 (D.C.

Cir. 2017), vacated and remanded sub nom. on other grounds, Opati v. Republic of Sudan, 140 S.

Ct. 1601 (2020), with respect to the admissibility and consideration of evidence in terrorism cases

under the FSIA when defendants fail to appear and thereby default.

   V.       Ex Parte Communications

         The Proposed Special Masters should be permitted to engaged in ex parte communications

with the Court or with Plaintiffs or their counsel to the extent that they determine it is reasonable

and facilitates the efficient and/or economical resolution of their duties.

   VI.      Reports

         The Proposed Special Masters would submit Reports and Recommendations to the Court

via ECF regarding each implicated Plaintiff’s damages claims, which would recommend findings

of fact and conclusions of law regarding each item of compensatory damages.

         Pursuant to Rule 53(f)(2), any party may file an objection to the contents of any Report and

Recommendations by the Proposed Special Masters within 21 calendar days of the date it was

electronically filed. As provided in Rule 53(f)(3) and (4), the Court would decide de novo all

objections to findings of fact or conclusions of law made or recommended by the Proposed Special

Masters. As provided in Rule 53(f)(5), the Court would set aside a ruling by the Proposed Special

Masters on a procedural matter only for an abuse of discretion.

   VII.     Compensation

         The FSIA provides for payment of special masters pursuant to 28 U.S.C. § 1605A(e)(2),

which states: “The Attorney General shall transfer, from funds available for the program under

section 1404C of the Victims of Crime Act of 1984 (42 U.S.C. § 10603c [recodified at 34 U.S.C.

§ 20106(b)]), to the Administrator of the United States district court in which any case is pending



                                                  7
         Case 1:16-cv-00232-CKK Document 134 Filed 12/22/21 Page 8 of 9




which has been brought or maintained under this section such funds as may be required to cover

the costs of special masters appointed under paragraph (1).” In turn, 34 U.S.C. § 20106(b) provides

that the Director of the Office for Victims of Crime “may use the emergency reserve referred to in

section 20101(d)(5)(A) of this title to carry out a program to compensate victims of acts of

international terrorism that occur outside the United States for expenses associated with that

victimization.”

       Each day a Proposed Special Master works for an amount of time greater than zero but less

than or equal to four hours, he or she shall be paid $600.00. Each day a Proposed Special Master

works for an amount of time greater than four hours, he or she shall be paid $1,200.00. The

Proposed Special Masters shall also be paid for reasonable business expenses, which shall be

limited to $50.00 per day (excluding transportation expenses) such expenses are incurred. In

addition, the Proposed Special Masters shall be paid for reasonable transportation expenses, if any,

incurred. Should any question arise as to expenses, the regulations promulgated by the Internal

Revenue Service regarding business expenses shall govern and, subject to the above limitation, all

expenses qualifying as business expenses under Treas. Reg. § 1.162-1 shall be paid.

       Within three weeks of the entry of any damages award issued by the Court in relation to a

Report and Recommendation for one or more of the 227 Plaintiff Group, the Proposed Special

Masters shall provide Plaintiffs’ counsel with vouchers itemizing, for each day of work, the

amount of time worked, the nature of the work done, and the amount of any business or travel

expense incurred. Such vouchers shall also include a calculation of total pay sought. Within three

weeks of receiving any such voucher, Plaintiffs shall file a motion with the Court seeking the

Court’s order that the Clerk coordinate payment with the Office for Victims of Crime. Plaintiffs

shall append any such vouchers to any such motions.



                                                 8
        Case 1:16-cv-00232-CKK Document 134 Filed 12/22/21 Page 9 of 9




   VIII. Conclusion

       WHEREFORE, and for the foregoing reasons, Plaintiffs respectfully request that this

motion be granted, and that the Court so-order the [Proposed] Administrative Plan Governing

Special Masters.



Dated: December 22, 2021

                                                 Respectfully submitted,

                                                 OSEN LLC

                                          By:    /s/ Gary M. Osen
                                                 Gary M. Osen (DC Bar No. NJ009)
                                                 Ari Ungar (DC Bar No. NJ008)
                                                 Dina Gielchinsky (DC Bar No. NJ011)
                                                 190 Moore Street, Suite 272
                                                 Hackensack, NJ 07601
                                                 (201) 265-6400

                                                 TURNER & ASSOCIATES, P.A.
                                                 C. Tab Turner
                                                 4705 Somers Avenue, Suite 100
                                                 North Little Rock, AR 72116
                                                 (501) 791-2277

                                                 Attorneys for Plaintiffs




                                            9
